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 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  ) CASE NO. 2:07-CR-00314 LKK
                                                )
12               Plaintiff,                     )
                                                )
13       v.                                     ) ORDER CONTINUING STATUS
                                                ) CONFERENCE
14   JOSE LUIS MORALES, et al.,                 )
                                                )
15               Defendant.                     )
                                                )
16                                              )
17

18         The parties appeared before the Court on August 19, 2014, in the above-entitled
19   case. At that time, based upon the representations and agreement of both counsel, the
20   Court ordered that the status conference set for August 19, 2014 at 9:15 a.m., be continued
21   to October 28, 2014 at 9:15 a.m., and that the time beginning August 19, 2014, extending
22   through October 28, 2014, was excluded from the calculation of time under the Speedy
23   Trial Act. The exclusion of time is appropriate due to defense counsel’s need to prepare,
24   and for continuity of counsel. The additional time is necessary to ensure defense counsel’s
25   effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
26   3161(h)(7)(B)(iv); Local Code T4.
27         ACCORDINGLY, it is hereby ordered that the status conference set for August 19,
28
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 1   2014 at 9:15 a.m., be continued to October 28, 2014 at 9:15 a.m., and that the time
 2   beginning August 19, 2014, and extending through October 28, 2014, be excluded from the
 3   calculation of time under the Speedy Trial Act. The Court finds that the interests of
 4   justice served by granting this continuance outweigh the best interests of the public and
 5   the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 6         IT IS SO ORDERED.
 7   Dated: August 25, 2014
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                                                                              Order after Hearing
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